                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION

 UNITED STATES OF AMERICA                     :      Case No. 1:20-cr-77
                                              :
 vs.                                          :      Judge Timothy S. Black
                                              :
 GENERATION NOW, INC. (6),                    :
                                              :
        Defendant.                            :

                            NOTICE AND ORDER
                     REGARDING MEMBERS OF THE PUBLIC

       This case is set for a change of plea hearing as to Defendant Generation Now, Inc.,

to be held by video conference on February 19, 2021 at 1:00 p.m. Any member of the

public, who is not a party to the case, may join the hearing as a non-participant by

calling: 571-317-3122; Access Code: 854-573-445.

       In order to minimize disruption, and to ensure the order and integrity of the

proceedings, the Court ORDERS as follows:

       (1) Non-participants are required to mute their telephones during all stages of the
           proceedings;

       (2) Non-participants should call into the hearing shortly before 1:00 p.m., as the
           Court will lock the virtual hearing room once the hearing is underway; and

       (3) Video and/or audio recording of any proceeding is prohibited.

       IT IS SO ORDERED.

Date: 2/9/2021                                                  s/ Timothy S. Black
                                                            Timothy S. Black
                                                            United States District Judge
